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                                                                                                     02/13/2018
                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

  ELIZABETH SINES et al.,                                    )
            Plaintiffs,                                      )        Civil Action No. 3:17cv00072
                                                             )
  v.                                                         )        ORDER
                                                             )
  JASON KESSLER et al.,                                      )        By: Joel C. Hoppe
            Defendants.                                      )        United States Magistrate Judge

          This matter is before the Court on the Doe Plaintiffs’ Motion to Proceed Under

  Pseudonyms, ECF No. 98, and Motion to Strike Defendant James Fields’s response in opposition

  as untimely filed, ECF No. 164. 1 The Court dispenses with oral argument because the facts and

  legal contentions are adequately presented in the parties’ filings and a hearing would not aid the

  decisional process. The Doe Plaintiffs’ motion to strike, ECF No. 164, is hereby DENIED, and

  the Court will consider Defendant Fields’s response in opposition, ECF No. 162, to Plaintiffs’

  motion to proceed pseudonymously.

          “Federal courts traditionally have recognized that in some cases the general presumption

  of open trials—including identification of parties and witnesses by their real names—should

  yield in deference to sufficiently pressing needs for party or witness anonymity.” James v.

  Jacobson, 6 F.3d 233, 242 (4th Cir. 1993). District courts evaluating a plaintiff’s request to

  proceed pseudonymously should consider: (1) whether the plaintiff has a sensitive and personal

  privacy interest; (2) whether identification poses a risk of retaliatory harm; (3) the ages of

  persons whose privacy interests are sought to be protected; (4) whether the plaintiff challenges a

  government entity versus a private party; and (5) the risk of unfairness to the defendant. See id.


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    In their reply brief, Plaintiffs note that the three Jane Does decided to withdraw as plaintiffs from the
  lawsuit. Pls.’ Reply Br. 2 n.1, ECF No. 174; see also Am. Compl., ECF No. 175.
                                                        1
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  at 238. Having considered the parties’ arguments, see ECF Nos. 98, 162, 174, the Court finds

  that John Doe should be permitted to proceed pseudonymously. The potential for retaliatory

  harm or harassment against named parties in this case is particularly pressing and, unlike

  Defendant Fields, John Doe’s identity is not associated in the general public with the alleged

  events underlying this lawsuit. Accordingly, the Doe Plaintiffs’ Motion to Proceed Under

  Pseudonyms, ECF No. 98, is hereby GRANTED and the Court DIRECTS that John Doe may

  continue to proceed under a fictitious name.

         It is so ORDERED.

                                                       ENTER: February 13, 2018



                                                       Joel C. Hoppe
                                                       United States Magistrate Judge




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